
508 So.2d 565 (1987)
Charles WASHINGTON, Jr., Appellant,
v.
STATE of Florida, Appellee.
No. 85-2634.
District Court of Appeal of Florida, Second District.
June 19, 1987.
James Marion Moorman, Public Defender, and John T. Kilcrease, Jr., Asst. Public Defender, Bartow, for appellant.
Robert A. Butterworth, Atty. Gen., Tallahassee, and James A. Young, Asst. Atty. Gen., Tampa, for appellee.
PER CURIAM.
In this appeal, we again consider the question posed by appellant as follows:
WHETHER THE TRIAL COURT ERRED WHEN IT SENTENCED APPELLANT IN EXCESS OF THE STATUTORY MAXIMUM AS A HABITUAL OFFENDER UNDER THE SENTENCING GUIDELINES?
We have addressed that issue in Hoefert v. State, 509 So.2d 1090 (Fla. 2d DCA 1987), and there answered this question as posed here by appellant in the negative. We therefore affirm appellant's conviction and sentence and again certify to the supreme court, as a question of great public importance, the question certified in Hoefert as follows:
IS THE HABITUAL OFFENDER STATUTE STILL AN EFFECTIVE BASIS ON WHICH TO EXCEED THE STATUTORY MAXIMUM AS LONG AS THE SENTENCE IMPOSED DOES NOT EXCEED THE GUIDELINES RECOMMENDATION?
Affirmed.
DANAHY, C.J., and SCHEB and CAMPBELL, JJ., concur.
